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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT ()F DELAWARE

 

In rex Chapter 11

VIDEOLOGY, INC., et al.,l Case No. 18-11120 (KG)
Debtors. Joint Administration Requested

 

NOTICE OF AGENDA OF MATTERS SCHEDULED
FOR FIRST DAY HEARING ON MAY ll, 2018 AT 11:00 A.M. (ET}

 

 

PLEASE NOTE THAT THE HEARING WILL BE BEFORE THE HONORABLE
BRENDAN L. SHANNON, CHIEF U.S. BANKRUPTCY JUDGE, U.S. BANKRUPTCY
COURT FOR THE DISTRICT OF DELAWARE, 824 NORTH MARKET STREET,
6TH FL()OR. COURTROOM N(). l, WILMINGTON, DELAWARE 19801

 

RELATED MATTERS

A. Voluntary Chapter 11 Petition of Videology, Inc.
[Case No. 18-11'120] (Filed May 10, 2018) (Docket No. l)

B. Voluntary Chapter ll Petition of Collider Media, Inc.
[Case No. 18-11121] (Filed May 10, 2018) (Docket No. l)

C. Voluntary Chapter 11 Petition of Videology Media Technologies, LLC
[Case NO. 18-11122] (Filed May 10, 2018) (Docket No. l)

D. Voluntary Chapter ll Petition of LucidMedia Networks, Inc.
[Case No. 18-11123] (Filed May 10, 2018) (Docket No. l)

E. Voluntary Chapter ll Petition of Videology Ltd
[Case No. 18-11124] (Filed May 10, 2018) (Docket No. l)

F. Declaration of Kenneth Tarpey in Support of Debtors’ Chapter ll Petitions and
First Day Relief (Filed May 10, 2018) (Docket No. 14)

G. Notice of Bankruptcy Filing, First Day Motions and Related Pleadings (Filed
May 10, 2018) (Docket No. 15)

 

' The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are:
Videology, lnc. (2191), Collider Media, Inc. (8602), Videology Media Technologies, LLC (6243), LucidMedia
Networks, Inc. (8566) and Videology Ltd. The address of the Debtors’ corporate headquarters is 1500 Whetstone
Way, Suite 500, Baltimore, MD 21230.

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MATTERS GOING FORWARD

1.

Debtors’ Motion for an Order, Pursuant to Bankruptcy Rule 1015 and Local Rule
1015-1, Authorizing Joint Administration of Their Chapter 11 Cases (Filed
May 10, 2018) (Docket No. 3)

Status: This matter is going forward

Debtors’ Application Seeking an Order (I) Authorizing and Approving the
Appointment of Omni Management Group as Bankruptcy as Claims and Noticing
Agent and (II) Granting Related Relief (Filed May 10, 2018) (Docket NO. 4)

Status: This matter is going forward

Debtors’ Motion for Entry of an Order Authorizing the Debtors to File
Consolidated Lists of the Debtors’ (A) Creditors and (B) Top 30 General
Unsecured Creditors (Filed May 10, 2018) (Docket No. 5)

Status: This matter is going forward

Debtors’ Motion for an Order, Pursuant to 11 U.S.C. § 366, (I) Prohibiting Utility
Companies from Altering, Refusing or Discontinuing Service on Account of Pre-
Petition Invoices, (II) Approving Deposit as Adequate Assurance of Payment, and
(III) Establishing Procedures for Resolving Requests By Utility Companies for
Additional Assurance of Payment (Filed May 10, 2018) (Docket No. 6)

Status: This matter is going forward

Debtors’ Motion for Interim and Final Orders Under Bankruptcy Code Sections
105(a), 363(b), 363(0), 507(a), and 541 (I) Authorizing Payment of Certain Pre-
Petition Employee Obligations, Including Compensation, Beneflts, Expense
Reimbursements, and Related Obligations, (II) Conflrming Right to Continue
Employee Beneflt Programs on Post-Petition Basis, (III) Authorizing Payment of
Withholding and Payroll-Related Taxes, (IV) Authorizing Payment of Pre-
Petition Claims Owing to Administrators of, or Third Party Providers Under,
Employee Benef`lt Programs, and (V) Directing Banks to Honor Pre-Petition
Checks and Fund Transfers for Authorized Payments (Filed May 10, 2018)
(Docket No. 7)

Status: This matter is going forward

Debtors’ Motion for Order Pursuant to Section 105(a) of the Bankruptcy Code
Enforcing Protections of Sections 362, 365 and 525 Of the Bankruptcy Code
(Filed May 10, 2018) (Docket No. 9)

Status: This matter is going forward

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71 Debtors’ Motion for Order Pursuant to 11 U.S.C. §§ 105(a), 345 and 363 and Fed
R. Bankr. P. 6003 and 6004 and Del, Bankr. L.R. 2015-2 (i) Authorizing
Continued Use of Existing Cash Management System, Including Maintenance of
Existing Bank Accounts, Checks and Business Forms, (II) Authorizing
Continuation of Existing Deposit Practices, (III) Authorizing Continuation of
Intercompany Transactions and (IV) Waiving the Requirements of 11 U.S.C.
§ 345(b) (Filed May 10, 2018) (Docket No. 11)

Status: This matter is going forward

8. Debtors’ Motion for Interim and Final Orders Pursuant to 11 U.S.C. §§ 361 and
363: (I) Authorizing the Debtors to Use Cash Collateral, (II) Granting Adequate
Protection to Prepetition Secured Parties, (III) Scheduling Final Hearing, and
Granting Related Relief (Filed May 10, 2018) (Docket No. 13)

Status: This matter is going forward
Dated: May 10, 2018

COLE SCHZTZM P. C./

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